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                                UNITED STATES BANKRUPTCY COURT
                                                            Southern District of Texas (Houston)
In re Erica Rachelle Richardson                                                                                   Case No. 14-30620
      Debtor                                                                                                      Chapter 13
Notice of Mortgage Payment Change

If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan pursuant to § 1322(b)(5), you must use this
form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days before the new
payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: JPMorgan Chase Bank, National Association                                    Court claim no. (if known): 9
                                                                                            Date of payment change:
                                                                                            Must be at least 21 days after date of this notice     05/01/2015
Last four digits of any number you
use to identify the debtor's account:       9036                                            New total payment:
                                                                                                                                                   $1,384.75
                                                                                            Principal, Interest, and escrow, if any



Part 1: Escrow Account Payment Adjustment
    Will there be a change in the debtor's escrow account payment?
         No
         Yes.   Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                  Describe the basis for the change. If a statement is not attached, explain why:



                        Current escrow payment:             $812.81                            New escrow payment:            $633.97

Part 2: Mortgage Payment Adjustment
   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate note?
        No
        Yes.      Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                  If a notice is not attached, explain why:



       Current interest rate:                                                            New interest rate:
       Current principal and interest payment:                                           New principal and interest payment:
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Part 3: Other Payment Change
  Will there be a change in the debtor's mortgage payment for a reason not listed above?
      No
      Yes.    Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
              modification agreement. (Court approval may be required before the payment change can take effect.)
      Reason for change:


                  Current mortgage payment:                                                New mortgage payment:




Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
   number if different from the notice address listed on the proof of claim to which this Supplement applies.
   Check the appropriate box:
       I am the creditor.          I am the creditor's authorized agent.
                                   (Attach a copy of power of attorney, if any.)

  I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge, information,
   and reasonable belief.

         /s/ Lee Gates                                                                 Date 03/25/2015
         Vice President




 Print: Lee Gates                                                                      Title   Vice President


 Company      JPMorgan Chase Bank, N.A.                                                Specific Contact Information:
 Address      Chase Records Center Attn: Correspondence Mail                           Phone: 972-537-9533
              Mail Code LA4-5555 700 Kansas Lane                                       Email: Lee.Gates@jpmorgan.com
              Monroe, LA 71203




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                              UNITED STATES BANKRUPTCY COURT
                                                      Southern District of Texas (Houston)

                                                                           Chapter 13 No. 14-30620
 In re:                                                                    Judge: Jeff Bohm
 Erica Rachelle Richardson

                                                  Debtor(s).


                                                    CERTIFICATE OF SERVICE
 I hereby certify that on March 31, 2015, I have served a copy of this Notice and all attachments to the following by U.S. Mail, postage pre
 paid, or via filing with the US Bankruptcy Court's CM ECF system.

 Debtor:                     Erica Rachelle Richardson
                             12206 Preakness Way
                             Houston, TX 77071



 Debtor's Attorney:          Kenneth A Keeling
                             Keeling Law Firm
                             3310 Katy Freeway
                             Suite 200
                             Houston, TX 77007

 Trustee:                    David G Peake
                             Chapter 13 Trustee
                             9660 Hillcroft
                             Suite 430
                             Houston, TX 77096-3856


                                                                           /s/ Lee Gates
                                                                           Vice President




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